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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

IN RE                                          §   CASE NO. 18-30849
BENDCO, INC.                                   §   CHAPTER 11
      DEBTOR                                   §
            AGREED ORDER ACCEPTING EXECUTORY CONTRACT
                 AND CONDITIONING AUTOMATIC STAY
                       (Responsive to Docket No. 46)
       At Houston, in said District, came on for consideration the Motion for Relief from the

Automatic Stay filed by OMNIPOTECH, LTD (“OMNIPOTECH”). OMNIPOTECH and Debtor

Bendco, Inc. (“Bendco”) have advised the Court that they have reached an agreement for adequate

protection, acceptance of the executory contract and have conditioned the automatic stay. In

connection therewith, OMNIPOTECH and Bendco submit to the Court the following stipulations:

       1.     On July 27, 2015, Bendco and OMNIPOTECH entered into the following contracts:

1) On Premises Infrastructure Project and Services Order Form (“Infrastructure Services Order

Form”), 2) Project and Services Order Form for Bendco (“Services Order Form”), and 3) Masters

Services Agreement for Bendco (“MSA”) (Hereinafter the Infrastructure Services Order Form, the

Services Order Form, and the MSA are collectively referred to as the “Contracts”). Under the

Contracts, OMNIPOTECH sold certain equipment to Bendco and provides monthly services to

Bendco including, but not limited to email, data backup and phone services.

       2.     OMNIPOTECH holds a purchase money security interest in the following personal

property:

              1 Netgear GS748TP 48 pt GM Smart Switch
              1 Dell T430 server with 5YR 24.x7 Warranty, 4x1TB SSD drives with hot spare and
                Vmware Vsphere Essentials kit
              1 Eaton PW9130L1500-T-XL Tower UPS 120 V NEMA 5-15
              15 Polycom VX410 PoE speaker phone with power adapter
              1 Polycom VVX Color Expansion Module

as more particularly described in the Infrastructure Services Order Form.
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       2.     Bendco is also in possession of certain equipment that belongs to
OMNIPOTECH that Bendco uses in connection with its infrastructure needs. These pieces

of equipment consist of:
              1 OMNIPOTECH Backup Appliance
              Phone System Server
              Super Micro Phone server hardware

These pieces remain property of OMNIPOTECH pursuant to the Services Order Form.
       3.     The Contracts grants Bendco a non-exclusive licence to use OMNIPOTECH’s

technology solely for the purposes of using the services provided under the Contracts.
       4.     Bendco is required to make monthly payments for the services under the

Contracts, but was in default at the time Bendco filed bankruptcy.

       5.     Bendco requested a reduction in certain services as a modification of the
Contracts.

       6.     OMNIPOTECH and Bendco reached an Agreement regarding cure of the

defaults under the Contracts, modification of the Contracts and conditioning the automatic

stay as follows:

              i.    Bendco shall enter into a Promissory note to pay the pre-petition and
                    post petition arrearages under the Contracts. The Promissory Note shall
                    be in the amount of $96,755.84 being over 60 months at 5% interest.
                    The monthly payments are in the $1825.90 with the first payment being
                    due on or before July 21, 2018 and continuing on the 21st day of each
                    month until all sums are paid in full. The note shall be secured by the
                    equipment listed in Paragraph 1 above. OMNIPOTECH will be allowed
                    to file any further UCC-1's to secure the Promissory Note by such
                    equipment.
              ii.   The existing Contracts will have an addendum added for monthly
                    services listed below being the only services provided:
Monthly Recurring Services                                    Qty    Amt           Total
USER WITH TERMINAL SERVER ACCESS

- Microsoft Windows Server Standard R2 SPLA SAL

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- Microsoft Remote Desktop Services SPLA SAL
- Microsoft Office Standard SAL (Word, Excel,               8        58.95       471.60
       PowerPoint & Outlook)
- Microsoft Exchange Standard
- Microsoft SQL Server SAL (Required for JobBoss)
PROACTIVE MAINTENANCE AND SECURITY

OMNI-Desktop Care for Windows-based desktops
     and laptops                                    5       20.00             100.00
OMNI-Managed Security per user - manage anti-virus,
     anti-malware, anti-spyware and URL filtering
     per device                                     5       5.00               25.00
OMNI-Server Care Remote Server Watch for
Windows-based servers                               3       59.00             177.00
OMNI-Managed Security Server - manage anti-virus,
     anti-malware, anti-spyware and URL filtering 3         20.00              60.00
OMNI-Firewall Monitoring (free with combined
     OMNI-Care Desktop & Server services)           2       Included           Included
EMAIL SECURITY

OMNI-Email Security Services for Exchange Server
        with secure outbound relay
- 1 mailbox per Exchange mailbox with up to 2 aliases;
        i.e., cgarcia, carlos.garcia, etc.
- 1 distribution list (up to 2 aliases each)
- Individual spam filtering, antivirus and antimalware
        for email                                      11   6.50               71.50
- 60 days rolling email retention for email continuity
        and online access
- Secure outbound relay to prevent Exchange server
        blacklisting
BACKUP, BUSINESS CONTINUITY, AND OFFSITE DISASTER RECOVERY

OMNI-Backup Appliance for physical or virtual
       servers and up to 4 host servers protected   1       375.00               375.00
- No storage commitment required. Invoiced at $1/Gb
       for total data stored offsite
OMNI-Backup license per non-SBS server with
       ImageManager Intelligent Transfer & HSR      3       75.25             225.75
OTHER HOSTING SERVICES

OMNI-Shared Hosting for Websites (Hosting for up
    to one static, non-database driven website)             1      Included
                                                            Included

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OMNI-DNS Services (Hosting for all domain names) 1              Included            Included
- bendco.com
OMNI-PBX (PBX-AS-A-SERVICE)

- One On-Premises Phone System with Datacenter
       Failover to Hosted PBX
- Datacenter PBX located in SSAE16 datacenter
- Datacenter failover system on dedicated virtual
       phone system on clustered servers                        1        221          221.00
- Datacenter Bandwidth dedicated to VoIP traffic
- Client owns Polycom handsets and
       OMNIPOTECH owns the phone system servers
- Client pays telecom provider directly for phone lines
       and internet
OMNI-PBX Extensions (any Polycom, virtual cell phones,
    softphones, etc.) - estimated quantity                          13   4.00         52.00
REMEDIATION

       Per Rate Schedule Agreement on Page 10
       of the Contract

MONTHLY TOTALS                                                                   1778.85

       Bendco shall pay base amount of $1,778.85 each month plus applicable sales tax and
adjusted for actual usage each the month. The first payment is due on or before July 10,

2018. Remediation will be billed according to the Rate Schedule Agreement located on page
10 of the original order form.

              iii.   OMNIPOTECH may purge the offsite data backup held in
                     OMNIPOTECH’S data center on June 29, 2018;

              iv.    BENDCO shall sign a wavier containing the following representation:

                            Bendco consents to the removal of the data backup held
                            in OMNIPOTECH’s data center and acknowledges the
                            possible consequences of the removal of the offsite data
                            backup held in OMNIPOTECH’S data center. Bendco
                            understands that the offsite disaster recovery option is an
                            additional layer of protection in the event the
                            OMNI-Backup Appliance located at Bendco’s office
                            fails. Bendco acknowledges that purging the offsite data
                            backup cannot be reversed and the data will not be

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                             recoverable by any means. Bendco understands that the
                             only backup protection will be contained within
                             Bendco’s offices and stored on the OMNI-Backup
                             Appliance.     Bendco acknowledges that if the
                             OMNI-Backup Appliance hardware fails, the data is
                             compromised or its data is irretrievable for any reason,
                             OMNIPOTECH may not be able to restore one or more
                             of its virtual servers; meaning, that Bendco may
                             experience data lost. Bendco acknowledges and accepts
                             this risk. Bendco further acknowledges that it will have
                             the option to resume the offsite data backup at
                             OMNIPOTECH's rate at the time of request, but if
                             requested, the monthly payments as set forth in
                             Paragraph 7(ii) above will be to the existing monthly
                             amount.
               v.      In the event of default under the Promissory Note and/or the monthly
                       services payment, Omnipotech shall give Bendco a twenty day notice
                       of such default and opportunity to cure the default. If Bendco remains
                       in default or defaults a second time then the automatic stay will lift
                       automatically and OMNIPOTECH may immediately cancel the
                       services without the need of further order of the Court.

               vi.     Bendco accepts the current Contracts with as amended by the
                       modifications in Paragraph 7(ii) above. All other provisions of the
                       Contracts will remain in full force and effect.

       The Court, having reviewed the foregoing stipulations and the parties’ agreement,

finds that the parties’ agreement is reasonable and appropriate, no objections have been

filed. Proper notice of the Motion has been given to all parties in interest and the provisions
of the Agreed Order are in accordance with the United States Bankruptcy Code. It is

accordingly,
       ORDERED that the automatic stay provided by 11 U.S.C. § 362 shall remain in

effect as to the Property provided that Debtor Bendco complies fully with the terms of this
Order. It is further

       ORDERED that the Contracts as defined in Paragraph 1 are accepted by Bendco and

remain in full force and effect with the exception of the modification in the terms set forth
in Paragraph 7(ii) above. It is further

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        ORDERED that Debtor is authorized to enter into the Promissory Note for the cure

of the pre-petition and post petition arrearages in the amount of $96,755.84 over 60 months
at 5% interest with the first payment being July 21, 2018. It is further

        ORDERED that OMNIPOTECH may file a UCC-1 to secure the purchase money

security interest on the equipment listed in Paragraph 1 above. It is further
        ORDERED that the Contracts will be amended by the terms listed in Paragraph 7(ii)

above. It is further

        ORDERED that based upon the modification of the Contracts in Paragraph 7(ii)

above, Bendco shall pay to OMNIPOTECH a base of $1,778.85 plus sales tax, and adjusted

for actual usage each month beginning on July 10, 2018. It is further

        ORDERED that all remediation will be charged to Bendco at the rates provided for

in the Contracts; It is further
        ORDERED that the offsite data backup held in OMNIPOTECH’s data center may

be purchased on June 29, 2018 to reduce the monthly services costs as modified in Paragraph

7(ii) above. It is further

        ORDERED that Bendco shall enter into a waiver acknowledging that it understands

the risk of cancelling the offsite data backup currently held in OMNIPOTECH’s data center.
It is further

        ORDERED that if Bendco defaults under the Promissory Note and/or in the monthly

service payments, Omnipotech shall give Bendco a twenty (20) day written notice of such
default with opportunity to cure. If Bendco fails to cure within the twenty (20) day period,

then the automatic stay shall lift and OMNIPOTECH may take any further action to cancel
the services being provided without the necessity of further Court Order and to repossess its

collateral; It is further

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       ORDERED that Notice to Bendco and Bendco’s counsel as provided in this Order

shall be sent by email and by certified mail, return receipt requested, to the address listed
below or such additional addresses as Bendco may designate in writing by email and certified

mail, return receipt requested to OMNIPOTECH and its counsel:
              BENDCO
              John Tharp
              Bendco, Inc.
              801 Houston Avenue
              Pasadena, Texas 77502
              email: John.t@bendco.com
              BENDCO’S COUNSEL

              Richard L. Fuqua, II
              Fuqua & Associates, P.C.
              5005 Riverway, Suite 250
              Houston, Texas 77056
              email: ruqua@fuqualegal.com
       Notice to OMNIPOTECH and OMNIPOTECH’s counsel as provided in this Order

shall be sent by email and by certified mail, return receipt requested, to the address listed

below or such additional addresses as OMNIPOTECH may designate in writing by email and
certified mail, return receipt requested to OMNIPOTECH and its counsel:

              OMNIPOTECH

              Robert Kyslinger
              OMNIPOTECH, INC
              11422A Craighead Dr.
              Houston, Texas 77025-5808
              email: Robert.Kyslinger@omnipotech.com




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             OMNIPOTECH’S COUNSEL
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             Law Office of Mynde S. Eisen, P.C.
             6546 Greatwood Parkway, Suite C
             Sugar Land, Texas 77479
             email: mynde@eisenlawoffice.com

      SIGNED this ____ day of _____________, 2015.




                                          DAVID JONES
                                          UNITED STATES BANKRUPTCY JUDGE



AGREED:

LAW OFFICE OF MYNDE S. EISEN, P.C.


By: /s/ Mynde S. Eisen
        Mynde S. Eisen
        State Bar No. 06503950
        6546 Greatwood Parkway, Suite C
        Sugar Land, Texas 77479
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        mynde@eisenlawoffice.com

ATTORNEYS FOR MOVANT
OMNIPOTECH, LTD

FUQUA & ASSOCIATES, P.C.


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        Houston, Texas 77056
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        email: fuqua@fuqualegal.com

ATTORNEYS FOR DEBTOR
BENDCO, INC.




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